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                  Exhibit 2
Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 2 of 13 PageID #:17
Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 3 of 13 PageID #:18
Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 4 of 13 PageID #:19
Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 5 of 13 PageID #:20
Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 6 of 13 PageID #:21
Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 7 of 13 PageID #:22
Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 8 of 13 PageID #:23
Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 9 of 13 PageID #:24
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Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 11 of 13 PageID #:26
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Case: 1:21-cv-05491 Document #: 1-1 Filed: 10/15/21 Page 13 of 13 PageID #:28
